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uNlTED sTATEs oF AMERch,

Plaintiff,
vs. Criminal No. 05-20010-B
ALBERT K|N LEE, ` *

Defendant. *

 

CONSENT ORDER REGARD|NG DlSCLOSURE
AND USE OF MATER|ALS PROV|DED
PURSUANT TO DlSCOVERY

 

By consent of Counsel for the defendant herein.`and the Government, the Court
concludes that an order should be entered in this cause governing access to certain
discovery materials that are alleged to be contraband (chi|d pornography). Counsel forthe
defendant herein and any active member of the defense team (investigator, computer
specialist, expert) who, in his/her official capacity as such member, has a need to obtain
a copy of such material is authorized to do so, but only in complete accordance with the
following requirements of the Court: `

1. Any copy made of the discovery material will be used solely for litigation
purposes in the instant matter, and will only be disclosed to the defendant
and member(s) of the defense team assisting defense counsel herein, as
necessary.

2. A|l such material (and any copy thereof) will be maintained in a secure
location at all times to prevent access by any unauthorized individual.

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APPROVED:

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cHAEL J. s‘rENGEL t
nse| for the Defendant

  

  

L. NEWSOM
Senior Litigation C unse|

By receipt of any such material, Counsel for the defendant herein
acknowledges that he/she is aware of the protections afforded potential
victims / witnesses pursuant to Title 18, United States Code, Section 3509,
and will not disclose the name of or identity of any alleged witness /victim to
anyone other than his client and the defense team. l\/loreover, disclosure of
a victim or witness’s identity to the defense team will only be made if
necessary for preparation of the defense herein.

Following final disposition of this matter, in the District Court, all such material
(and any copy thereof) shall be promptly returned to the United States to be
disposed of in accordance with the law.

Following final disposition of this matter, in the District Court, Counse| forthe
defendant shall confirm to the United States, in writing, that each of the
foregoing requirements of the Court have been fully met and that all such
material (and any copy thereof) has been returned to the custody of the
United States.

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oRDEREDthis /"Z dayof © ,2005.

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.D NlEL BREEN \
nit States District Judge

 

  
 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:05-CR-200]0 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

